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                                                                                                        Crim-Trial (2/5/2010)
                                                       HONORABLE: Janet C. Hall
                           DEPUTY      CLERKDiahann Lewis      RPTR/ECRO/TAPETerri Fidanza
TOTAL TIME: 4               hours 55 minutes      USPO                      INTERPRETER
                              DATE: 3/2/2020         START TIME:     8:40         END TIME: 1:35
                                                   LUNCH RECESS FROM:                   TO:
                                          RECESS (if more than ½ hr)     FROM:          TO:

CRIMINAL NO. 3:18CR220 (JCH)                      Deft #


                                                                   Donovan/Kaotzanis
          UNITED STATES OF AMERICA                                                     AUSA
                    vs
                                                                  Robert Frost
                        Vashun Lewis
                                                                            Defendant’s Counsel

                                CRIMINAL JURY SELECTION/CALENDAR CALL

  ..............    Deft                       failed to appear. Bench Warrant to be issued.
  ..............       Call of the Calendar held       Call of the Calendar over to
  ..............       Jury Selection held      Jury Selection continued until
  ..............    Grand Jury Selection : GJ #                    Foreperson:                 Deputy FP
  .......#113       Deft Lewis             motion for Bifurcation                    granted denied advisement
  .......#126       Deft Lewis             motionfor Confidential Informant          granted denied advisement
  .......#125       DeftLewis              motionfor leave to file & Suppress        granted denied advisement
  .......#          Govt’s motion                                                    granted denied advisement
  .......#          Govt’s motion                                                    granted denied advisement
  ...............   Deft             Oral motion                                    granted denied advisement
  ...............   Deft             Oral motion                                    granted denied advisement
  ...............   Govt’s oral motion                                               granted denied      advisement
  ...............   Govt’s oral motion                                               granted denied advisement
  ..............    Motion Nos. 65, 68, 70, and 106 terminated as moot.                                       filed
  ..............                                                                                              filed
  ..............                                                                                              filed
  ..............                                                                                              filed
  ..............    75           jurors present
  ..............    Voir Dire oath administered by Clerk         previously administered by Clerk
  ..............    Voir Dire by Court
  ..............    Peremptory challenges exercised
  ..............    Jury of 12 and 2          alternates drawn       and sworn    Jury Trial commences
  ..............    Remaining jurors excused
  ..............    Trial continued until 3/3/2020        at 9:30
  ..............    COPY TO: JURY CLERK with juror lists
